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 1   ZENIA K. GILG, SBN 171922
     809 Montgomery Street, 2nd Floor
 2   San Francisco CA 94133
     Telephone: 415/394-3800
 3   Facsimile: 415/394-3806

 4   Attorney for Defendant
     BRIAN PICKARD
 5

 6                               UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          No. 2:11-cr-00449-KJM-16

10                  Plaintiff,                          STIPULATION TO EXTEND TIME
                                                        FOR POSTING PROPERTY BOND
11          v.                                          TO JANUARY 11, 2012

12   BRIAN PICKARD,                                     Court: Hon. Kendall J. Newman

13                  Defendant.
                                              /
14

15          IT IS HEREBY STIPULATED between the parties that the time for defendant BRIAN

16   PICKARD to post the property bond with this Court in order to secure his pretrial release shall

17   be extended from December 14, 2011, to January 11, 2012.

18          IT IS SO STIPULATED.

19                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
20

21   /S/ZENIA K. GILG                             By:     /S/SAMUEL WONG
     ZENIA K. GILG                                        SAMUEL WONG
22   Attorneys for Defendant                              Assistant U.S. Attorney
     BRIAN PICKARD                                        Dated: December 14, 2011
23   Dated: December 14, 2011

24
                                                  ORDER
25
            IT IS SO ORDERED.
26
            Dated: December 14, 2011
27

28                                                _____________________________________
                                                  KENDALL J. NEWMAN
                                                  UNITED STATES MAGISTRATE JUDGE
